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                                        11   Shanghai Qichengyueming Investment
                                             Partnership Enterprise (Limited Partnership)
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                                        13                        UNITED STATES DISTRICT COURT
                                        14                       CENTRAL DISTRICT OF CALIFORNIA
                                        15
                                        16   Shanghai Qichengyueming Investment             Case No.
                                             Partnership Enterprise (Limited
                                        17   Partnership),                                  PETITION TO RECOGNIZE
                                                                                            AND ENFORCE A FOREIGN
                                        18                  Petitioner,                     ARBITRAL AWARD
                                        19         v.
                                        20   Jia Yueting,
                                        21                  Respondent.
                                        22
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                                        24
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                                        27
                                        28
                                                                                                        PETITION TO RECOGNIZE AND
                                                                                                       ENFORCE A FOREIGN ARBITRAL
                                                                                                                           AWARD
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                                         1             Petitioner Shanghai Qichengyueming Investment Partnership Enterprise
                                         2   (Limited Partnership) (“Petitioner” or “SQ”), by and through undersigned counsel,
                                         3   respectfully petitions the Court to confirm the China International Economic and
                                         4   Trade Arbitration Commission (“CIETAC”) arbitral award described herein. The
                                         5   CIETAC tribunal determined that Respondent Jia Yueting is liable as guarantor for
                                         6   certain loans that had not been repaid and ordered him to pay Petitioner amounts
                                         7   that, when stated in U.S. dollars, exceed $100,000,000, including arbitral and legal
                                         8   fees as well as interest.
                                         9             Confirmation in this case is authorized by the Convention on the Recognition
                                        10   and Enforcement of Foreign Arbitral Awards (the “New York Convention”)1 as
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                                        11   implemented in Chapter 2 of the Federal Arbitration Act, codified at 9 U.S.C. § 201
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                                        12   et seq.
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                                        13             Petitioner respectfully states:
                                        14             1.    On May 9, 2018, the Arbitral Tribunal of three arbitrators, pursuant to
                                        15   an arbitration sited in Beijing, the People’s Republic of China, rendered an award
                                        16   (the “Final Award”) in the case commenced by SQ, as Claimant, against Jia
                                        17   Yueting and Leview Holding (Beijing) Limited, as Respondents, before the China
                                        18   International Economic and Trade Arbitration Commission, Case Number
                                        19   X20170753. Documents relevant to this Petition are authenticated by and attached
                                        20   as exhibits to the concurrently filed Declaration of Jinshu Zhang dated August 28,
                                        21   2018 (the “Zhang Declaration”). The Final Award:
                                        22                   a.     Ordered the respondents to pay to SQ redemption prices for the
                                        23             convertible notes at issue in the arbitration (including principal and interest)
                                        24             of RMB648,284,650;
                                        25                   b.     Ordered the respondents to pay to SQ default interest of 4.35%
                                        26             from July 7, 2017 through the date of actual payment on the
                                        27
                                             1
                                        28       December 29, 1970, 21 U.S.T. 25157, T.I.A.S. No. 6997, 390 U.N.T.S. 38 (1970).
                                                                                                             PETITION TO RECOGNIZE AND
                                                                                          -2-               ENFORCE A FOREIGN ARBITRAL
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                                         1         RMB606,635,250 principal of Convertible Note I;
                                         2                c.    Ordered the respondents to pay to SQ default interest of 4.35%
                                         3         from August 17, 2017 through the date of actual payment on the
                                         4         RMB41,649,400 principal of Convertible Note II;
                                         5                d.    Ordered the respondents to pay to SQ its attorney fees in the
                                         6         amount of RMB1,000,000;
                                         7                e.    Ordered the respondents to pay to SQ its asset attachment fees in
                                         8         the amount of RMB5,000, and the premium SQ paid for an asset attachment
                                         9         bond in the amount of RMB972,467.93;
                                        10                f.    Ordered the respondents to reimburse SQ the arbitration fee of
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                                        11         RMB3,544,631;
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                                        12                g.    Ordered the respondents to reimburse SQ arbitrator
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                                        13         compensation in the amount of US$29,678.49;
                                        14                h.    Ordered that payment of all such amounts be made by the
                                        15         respondents within five days; and
                                        16                i.    Rejected all other claims.
                                        17         2.     A copy of the Final Award is attached to the Zhang Declaration as
                                        18   Exhibit 1. The Final Award is in Chinese. A certified translation is attached to the
                                        19   Zhang Declaration as Exhibit 2.
                                        20                                        PARTIES
                                        21         3.     Petitioner is a limited partnership organized under the laws of China. It
                                        22   is located at Room 790A, Level 7, Building D, No. 137 Haining Road, Hongkou
                                        23   District, Shanghai, the People’s Republic of China.
                                        24         4.     Respondent Jia Yueting is a Chinese national. Mr. Jia resides at 7
                                        25   Marguerite Drive, Rancho Palos Verdes, California.
                                        26                            JURISDICTION AND VENUE
                                        27         5.     The Final Award is governed by the New York Convention because:
                                        28
                                                                                                        PETITION TO RECOGNIZE AND
                                                                                       -3-             ENFORCE A FOREIGN ARBITRAL
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                                         1   (i) the award arose from a commercial legal relationship between the parties; (ii)
                                         2   there was an agreement in writing to arbitrate any dispute(s) arising from that
                                         3   relationship; (iii) the agreement provided for arbitration proceedings to take place in
                                         4   the People’s Republic of China, a signatory to the New York Convention; and (iv)
                                         5   at least one of the parties is not an American citizen. See 9 U.S.C. § 202.
                                         6          6.    This Court has subject matter jurisdiction pursuant to Section 203 of
                                         7   the Federal Arbitration Act, which provides jurisdiction to enforce an arbitration
                                         8   award governed by the New York Convention stating:
                                         9                An action or proceeding falling under the Convention
                                                          shall be deemed to arise under the laws and treaties of the
                                        10                United States. The district courts of the United States
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                                                          (including the courts enumerated in section 460 of title
                                        11                28) shall have original jurisdiction over such an action or
                                                          proceeding, regardless of the amount in controversy.
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                                        13   9 U.S.C. § 203.
                                        14          7.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) and
                                        15   (c)(1) as Mr. Jia, the sole Respondent to this action, is domiciled within this
                                        16   District.
                                        17                                              FACTS
                                        18                                      The Agreements
                                        19          8.    On June 3, 2015, SQ entered into a Convertible Note Purchase
                                        20   Agreement (the “Purchase Agreement”) with Leview Mobile Ltd. (“Leview
                                        21   Mobile”); Leview Holding (Beijing) Limited (“Leview Holding”); Le Ltd.; Lesai
                                        22   Mobile Technology (Beijing) Co., Ltd.; QC Investment Ltd.; and Mr. Jia. The
                                        23   Purchase Agreement provided that QC Investment Ltd. (“QC Investment”) would
                                        24   purchase a convertible note in the amount of US$75,000,000 issued by Leview
                                        25   Mobile (“Convertible Note I”).
                                        26          9.    The Purchase Agreement also includes a dispute resolution provision
                                        27   in which the parties agree to arbitrate:
                                        28
                                                                                                         PETITION TO RECOGNIZE AND
                                                                                         -4-            ENFORCE A FOREIGN ARBITRAL
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                                         1                 In the event of any dispute, controversy or, claim or
                                                           difference of any kind whatsoever arising out of, relating
                                         2                 to or in connection with this Agreement, including the
                                                           existence, validity, interpretation, performance, breach or
                                         3                 termination thereof, the validity, scope and enforceability
                                                           of this arbitration provision and any dispute regarding no-
                                         4                 contractual obligations arising out of or relating to it (the
                                                           ‘Dispute’), the parties hereto shall firstly consult and
                                         5                 negotiate with each other to settle it in an amicable
                                                           manner. If no settlement can be reached by the parties
                                         6                 within 30 days of the occurrence of the Dispute, any party
                                                           is entitled to submit, at its sole discretion, such dispute to
                                         7                 the China International Economic and Trade Arbitration
                                                           Commission (the ‘CIETAC’) for arbitration in Beijing in
                                         8                 accordance with the then applicable arbitration rules of
                                                           CIETAC.
                                         9
                                        10           10.   A copy of the Purchase Agreement is attached to the Zhang
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                                        11   Declaration as Exhibit 3.
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                                        12           11.   That same day, the parties to the Purchase Agreement entered into a
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                                        13   supplemental agreement (the “Supplemental Agreement I”) providing that the
                                        14   redemption payment due under the Purchase Agreement would be paid in RMB, at
                                        15   the US dollar exchange rate published by the People’s Bank of China on the closing
                                        16   date.
                                        17           12.   Also on that same day, Leview Holding and Mr. Jia jointly provided to
                                        18   QC Investment and Petitioner a letter of guarantee (“Letter of Guarantee I”). Letter
                                        19   of Guarantee I provided, inter alia, that:
                                        20                 a.     Leview Holding and Mr. Jia were irrevocable joint guarantors
                                        21           for Leview Mobile’s payment obligations under Convertible Note I; and
                                        22                 b.     In the event of Leview Mobile’s failure to timely perform its
                                        23           repayment obligations, QC Investment had the right to transfer its rights
                                        24           under Purchase Agreement, Convertible Note I, and Supplementary
                                        25           Agreement I to Petitioner.
                                        26           13.   On July 7, 2015, QC Investment paid US$75,000,000 to Leview
                                        27   Mobile.
                                        28
                                                                                                          PETITION TO RECOGNIZE AND
                                                                                        -5-              ENFORCE A FOREIGN ARBITRAL
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                                         1         14.    Also on July 7, 2015, the parties to the Purchase Agreement entered
                                         2   into a second supplemental agreement (“Supplemental Agreement II”) providing
                                         3   that QC Investment would purchase a second convertible note, with a principal
                                         4   amount of US$5,000,000 (“Convertible Note II”).
                                         5         15.    That same day, Leview Holding and Mr. Jia jointly provided to QC
                                         6   Investment and Petitioner a second letter of guarantee (“Letter of Guarantee II”)
                                         7   with the same terms as Letter of Guarantee I but as to the obligations arising from
                                         8   Convertible Note II.
                                         9         16.    On August 17, 2015, QC Investment paid Leview Mobile
                                        10   US$5,000,000.
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                                        11         17.    Starting in March 2017, QC Investment attempted to secure the
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                                        12   redemption payments due under the Convertible Notes from Leview Mobile.
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                                        13         18.    QC Investment also engaged counsel to attempt to negotiate with
                                        14   Leview Holding and Mr. Jia an amicable resolution of the repayment dispute.
                                        15         19.    On June 1, 2017, QC Investment, through its counsel, sent Leview
                                        16   Mobile a redemption notice demanding redemption of the two convertible notes
                                        17   with a redemption price for Convertible Note I of US$97,500,000, i.e.,
                                        18   RMB606,635,250, and a redemption price for Convertible Note II of
                                        19   US$6,500,000, i.e., RMB41,676,700.
                                        20         20.    Also on June 1, 2017, QC Investment, through its counsel, notified
                                        21   Leview Holding and Mr. Jia that QC Investment had sent the redemption notice to
                                        22   Leview Mobile. Further, QC Investment demanded that Leview Holding and Mr.
                                        23   Jia urge Leview Mobile to make timely repayment, warning that otherwise QC
                                        24   Investment would enforce the letters of guarantee.
                                        25         21.    Finally, on July 4, 2017, amidst a barrage of news reports about
                                        26   Leview Holding and Mr. Jia’s other companies, including reports of assets being
                                        27   frozen, liquidity crises, and mounting litigation, QC Investment transferred its
                                        28
                                                                                                        PETITION TO RECOGNIZE AND
                                                                                      -6-              ENFORCE A FOREIGN ARBITRAL
                                                                                                                           AWARD
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                                         1   rights under the Purchase Agreement, Convertible Note I, Convertible Note II,
                                         2   Letter of Guarantee I, Letter of Guarantee II, and the other agreements to Petitioner,
                                         3   and Petitioner initiated an arbitration of the repayment dispute.
                                         4                              THE CIETAC ARBITRATION
                                         5          22.     On July 5, 2017, Petitioner forwarded the arbitration demand it had
                                         6   made on Leview Holding and Mr. Jia to CIETAC.
                                         7          23.     On July 12, 2017, CIETAC sent to Petitioner, Leview Holding, and
                                         8   Mr. Jia an arbitration notice, the applicable arbitration rules, and a directory of
                                         9   arbitrators.
                                        10          24.     While the arbitration clause provides that the arbitration be conducted
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                                        11   in English, upon the joint application of the parties the arbitration was instead
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                                        12   conducted in Chinese.
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                                        13          25.     Petitioner appointed one arbitrator, and Leview Holding and Mr. Jia
                                        14   appointed a second arbitrator. The parties were unable to reach an agreement as to
                                        15   the third arbitrator, so, pursuant to the arbitration rules, CIETAC appointed the
                                        16   third arbitrator.
                                        17          26.     On October 19, 2017, the arbitral panel was then constituted, and, on
                                        18   the same day, CIETAC sent a notice of the same to all parties by express courier
                                        19   service.
                                        20          27.     The hearing was initially scheduled for December 7, 2017, but by
                                        21   notice on November 30, 2017 the hearing was rescheduled for December 20, 2017.
                                        22          28.     On December 20, 2017, a hearing was conducted before the arbitral
                                        23   panel in Beijing.
                                        24          29.     Both sides were represented by counsel at the hearing.
                                        25          30.     During the hearing, both sides stated their view of the case, presented
                                        26   evidence, questioned witnesses, made legal arguments, and responded to questions
                                        27   raised by the arbitral panel.
                                        28
                                                                                                          PETITION TO RECOGNIZE AND
                                                                                       -7-               ENFORCE A FOREIGN ARBITRAL
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                                         1         31.    Each party’s submissions were served on the other parties.
                                         2         32.    On May 9, 2018, the arbitral panel rendered its Final Award, finding
                                         3   generally in favor of Petitioner and against Leview Holding and Mr. Jia.
                                         4         33.    The Final Award ordered Leview Holding and Mr. Jia to pay to SQ
                                         5   redemption prices for the convertible notes at issue in the arbitration (including
                                         6   principal and interest) of RMB648,284,650.
                                         7         34.    The Final Award ordered Leview Holding and Mr. Jia to pay to SQ
                                         8   default interest of 4.35% from July 7, 2017 through the date of actual payment on
                                         9   the RMB606,635,250 principal of Convertible Note I.
                                        10         35.    The Final Award ordered Leview Holding and Mr. Jia to pay to SQ
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                                        11   default interest of 4.35% from August 17, 2017 through the date of actual payment
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                                        12   on the RMB41,649,400 principal of Convertible Note II.
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                                        13         36.    The arbitral panel, however, determined that it was not appropriate to
                                        14   make Leview Holding and Mr. Jia jointly liable for the full RMB9,475,412.30 in
                                        15   attorney fees incurred by SQ. Instead, the Final Award ordered Leview Holding and
                                        16   Mr. Jia to pay to SQ only RMB1,000,000 in attorney fees.
                                        17         37.    The Final Award ordered Leview Holding and Mr. Jia to pay to SQ its
                                        18   asset attachment fees in the amount of RMB5,000, and the premium SQ paid for an
                                        19   asset attachment bond in the amount of RMB972,467.93.
                                        20         38.    The Final Award ordered Leview Holding and Mr. Jia to reimburse SQ
                                        21   the arbitration fee of RMB3,544,631.
                                        22         39.    The Final Award ordered Leview Holding and Mr. Jia to reimburse SQ
                                        23   arbitrator compensation in the amount of US$29,678.49.
                                        24         40.    The Final Award ordered that all such payments be made within five
                                        25   days of the award.
                                        26         41.    Neither Leview Holding nor Mr. Jia have made any of the required
                                        27   payments.
                                        28
                                                                                                        PETITION TO RECOGNIZE AND
                                                                                      -8-              ENFORCE A FOREIGN ARBITRAL
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                                         1                                CLAIMS FOR RELIEF
                                                                             9 U.S.C. § 207
                                         2
                                                                           First Claim for Relief
                                         3                           (Confirmation of the Final Award)
                                         4         42.    Petitioner repeats and re-alleges each and every allegation contained in
                                         5   the foregoing paragraphs and incorporates them herein by reference.
                                         6         43.    The United States is a contracting party to the New York Convention.
                                         7         44.    The New York Convention has been implemented in the United States
                                         8   by Chapter Two of the Federal Arbitration Act.
                                         9         45.    The Final Award is governed by the New York Convention because it
                                        10   was rendered in China, another contracting party, and satisfies the requirements of
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                                        11   Section 202 of the Federal Arbitration Act. See 9 U.S.C. § 202.
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                                        12         46.    The Federal Arbitration Act provides that the “court shall confirm the
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                                        13   award unless it finds one of the grounds for refusal or deferral of recognition or
                                        14   enforcement of the award specified in the said Convention.” 9 U.S.C. § 207
                                        15   (emphasis added).
                                        16         47.    None of the grounds available for refusal or deferral of recognition and
                                        17   enforcement of an award specified in the New York Convention apply to the Final
                                        18   Award.
                                        19         48.    Therefore, the Final Award should be confirmed pursuant to 9 U.S.C.
                                        20   § 207 and judgment in the United States should be entered for the monetary relief
                                        21   awarded by the arbitral panel.
                                        22                                Second Claim for Relief
                                                                  (Prejudgment Interest on Amounts Due)
                                        23
                                        24         49.    Petitioner repeats and re-alleges each and every allegation contained in
                                        25   in the foregoing paragraphs and incorporates them herein by reference.
                                        26         50.    The Final Award include interest at the rate of 4.35% per year on the
                                        27   redemption price for the Convertible Notes of RMB606,635,250 running from July
                                        28
                                                                                                        PETITION TO RECOGNIZE AND
                                                                                      -9-              ENFORCE A FOREIGN ARBITRAL
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                                          1   7, 2017 and RMB41,649,400 running from August 17, 2017 until full payment.
                                          2               51.   Therefore, the Court should award Petitioner prejudgment interest on
                                          3   the amounts awarded under the Final Award from the dates specified in the Final
                                          4   Award until the entry of judgment at the rate so specified.
                                          5               WHEREFORE, Petitioner respectfully petitions the Court for an order:
                                          6               (a)   confirming the Final Award, including the monetary relief granted
                                          7   therein and entering judgment in favor of Petitioner and against Jia Yueting;
                                          8               (b)   awarding prejudgment interest as specified in the Final Award;
                                          9               (c)   awarding postjudgment interest as specified in the Final Award; and
                                         10               (d)   granting such other and further relief as the Court deems just and
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                                         11   proper.
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                                         13   Dated: September 5, 2018                        DENTONS US LLP
                                         14
                                         15                                                   By: s/Jae K. Park
                                                                                                 Jinshu Zhang
                                         16                                                      Jae K. Park
                                         17                                                   Attorneys for Petitioner
                                                                                              Shanghai Qichengyueming Investment
                                         18                                                   Partnership Enterprise (Limited
                                                                                              Partnership)
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                                                                                                             PETITION TO RECOGNIZE AND
                                                                                          - 10 -            ENFORCE A FOREIGN ARBITRAL
                                                                                                                                AWARD
